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 4   e-mail: lawtorres@aol.com
 5   Attorney for Defendant
     RAFAEL SANCHEZ
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                   IN THE UNITED STATES DISTRICT COURT
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               FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                            Case No.: 10-CR-00039 AWI
13                        PLAINTIFF,
                                                          STIPULATION AND ORDER TO
14                                                        VACATE STATUS
                                                          CONFERENCE HEARING
15
     RAFAEL SANCHEZ,
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                                   DEFENDANT.
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     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE:
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     ANTHONY I. ISHII AND JASON HITT, ASSISTANT UNITED STATES ATTORNEY:
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            COMES NOW Defendant, RAFAEL SANCHEZ, by and through his attorney of record,
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     DAVID A. TORRES hereby requesting that the status conference currently set for June13, 2011
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     be vacated.
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            This is a mutual request between Assistant United States Attorney, Jason Hitt and is
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     joined by counsel. A plea agreement has been signed by Mr. Sanchez and has been forwarded to
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     the United States Attorney’s Office. A request is hereby made to set the matter for a change of
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     plea hearing on June 27, 2011.
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     //
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                Case 1:10-cr-00039-AWI Document 40 Filed 06/09/11 Page 2 of 3


 1           Based upon the foregoing, I respectfully request that this matter be vacated.
 2           The parties also agree that the delay resulting from the continuance shall be excluded in
 3   the interest of justice pursuant to 18 U.S.C. §3161 (h)(8)(A) and §3161 (h)(8)(B)(I).
 4
 5
 6   Dated: June 8, 2011                                   /s/ David A. Torres
                                                           DAVID A. TORRES
 7                                                         Attorney for Defendant
                                                           RAFAEL SANCHEZ
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10                                                         BENJAMIN B. WAGNER
                                                           United States Attorney
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     Dated: June 8, 2011                                   By /s/Jason Hitt
12                                                         JASON HITT
                                                           Assistant U.S. Attorney
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28   Stipulation and Order to Vacate Hearing 2
                Case 1:10-cr-00039-AWI Document 40 Filed 06/09/11 Page 3 of 3


 1                                               ORDER
 2           IT IS SO ORDERED. Time is excluded in the interest of justice pursuant to 18 U.S.C.
 3   §3161(h)(8)(A) and §3161 (h)(8)(B)(i).
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 5   IT IS SO ORDERED.
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     Dated:     June 8, 2011
 7   0m8i78                                        CHIEF UNITED STATES DISTRICT JUDGE
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28   Stipulation and Order to Vacate Hearing 3
